
In re National Healthcare of Leesville Inc. d/b/a Byrd Regional Hospital; Byrd Regional Hospital;—Defendant(s); Applying for Supervisory and/or Remedial Writs, Parish of Vernon, 30th Judicial District Court Div. A, No. 75186; to the Court of Appeal, Third Circuit, No. CW 06-00397.
Granted. Plaintiffs’ motion m limine is premature, as it was filed prior to defendant’s answer and prior to any discovery. Accordingly, the judgment of the trial court is vacated and set aside. Plaintiffs may reurge the motion if defendant asserts the privilege during discovery.
CALOGERO, C.J., would deny.
